       Case: 18-10178, 09/03/2019, ID: 11418142, DktEntry: 42-1, Page 1 of 5
       Case 1:08-cr-00271-DAD Document 181 Filed 09/03/19 Page 1 of 5


                           NOT FOR PUBLICATION                          FILED
                    UNITED STATES COURT OF APPEALS                       SEP 3 2019
                                                                     MOLLY C. DWYER, CLERK
                                                                      U.S. COURT OF APPEALS
                           FOR THE NINTH CIRCUIT

UNITED STATES OF AMERICA,                      No.    18-10178

                Plaintiff-Appellee,            D.C. No.
                                               1:08-cr-00271-DAD-1
 v.

JEFFREY ALAN BROHN,                            MEMORANDUM*

                Defendant-Appellant.

                   Appeal from the United States District Court
                      for the Eastern District of California
                         Dale A. Drozd, District Judge

                       Argued and Submitted July 17, 2019
                           San Francisco, California

Before: MURPHY,** PAEZ, and RAWLINSON, Circuit Judges.


      Jeffrey Brohn pleaded guilty to using a facility of interstate commerce to

induce a minor to engage in sexual activity and traveling in interstate commerce

with the intent to engage in illicit sexual conduct. See 18 U.S.C.§§ 2422(b),



      * This disposition is not appropriate for publication and is not precedent
except as provided by Ninth Circuit Rule 36-3.
      **
        The Honorable Michael R. Murphy, United States Circuit Judge for the
U.S. Court of Appeals for the Tenth Circuit, sitting by designation.
          Case: 18-10178, 09/03/2019, ID: 11418142, DktEntry: 42-1, Page 2 of 5
          Case 1:08-cr-00271-DAD Document 181 Filed 09/03/19 Page 2 of 5


2423(b), 2423(e). After serving a prison term, Brohn violated the terms of his

supervised release by embezzling money from his employer. Upon revocation of

Brohn’s original term of supervised release, the district court imposed a new term

of imprisonment, followed by a new term of supervised release. Brohn challenges

the validity of several conditions of his supervised release. Exercising jurisdiction

pursuant to 28 U.S.C. § 1291, this court affirms in part, vacates in part, and

remands to the district court for further proceedings consistent with this

disposition.

      1. Mandatory Drug Testing Condition.1 Brohn asserts the district court

erred in refusing to (1) suspend the requirement of drug testing and (2) limit the

number of allowed tests to the statutory minimum. Brohn errs in asserting the law-

of-the-case doctrine impacts our analysis of the propriety of this mandatory

condition of supervised release. See United States v. Bainbridge, 746 F.3d 943,

946-50 (9th Cir. 2014); United States v. Cade, 236 F.3d 463, 467-68 (9th Cir.

2000). Instead, even if the condition was suspended in a prior sentencing

proceeding, we review for abuse of discretion the imposition of a mandatory drug


      1
        The district court shall “order, as an explicit condition of supervised release,
that the defendant . . . submit to a drug test within 15 days of release on supervised
release and at least 2 periodic drug tests thereafter.” 18 U.S.C. § 3583(d). This
condition “may be . . . suspended by the court,” id., if “the defendant’s presentence
report or other reliable sentencing information indicates a low risk of future
substance abuse,” id. § 3563(a)(5).

                                          -2-
        Case: 18-10178, 09/03/2019, ID: 11418142, DktEntry: 42-1, Page 3 of 5
        Case 1:08-cr-00271-DAD Document 181 Filed 09/03/19 Page 3 of 5


testing condition. Even absent evidence of past drug abuse, imposition of

mandatory drug testing is not an abuse of discretion. United States v. Jeremiah,

493 F.3d 1042, 1046-47 (9th Cir. 2007). Jeremiah also forecloses Brohn’s

challenge to the number of drug tests authorized by the district court. Id. at 1046-

47 (holding that a district court order allowing a probation officer to test a

defendant up to eight times a month was not an abuse of discretion). Brohn has

failed to identify evidence in the record demonstrating “the testing level set by the

district court involves a greater deprivation of liberty than is reasonably required to

achieve deterrence, public protection and offender rehabilitation.” Id.

      2. Special Condition No. 9. Brohn’s unpreserved overbreadth challenge to

the computer search condition in Special Condition No. 9 fails under plain error

review. Unlike the condition in United States v. Sales, 476 F.3d 732, 736 (9th Cir.

2007), the search condition here is limited to computers in Brohn’s “possession or

control.” See United States v. Bare, 806 F.3d 1011, 1017-18 (9th Cir. 2015).

Furthermore, Brohn has not identified a case reversing, as overbroad, a search

condition limited to computers in a defendant’s possession or control.

      Special Condition No. 9’s monitoring condition, on the other hand, which

authorizes monitoring of aspects of Brohn’s computer use not tied to the Internet,

is plainly at odds with this court’s decision in Sales, 476 F.3d at 734, 737-38; see

also United States v. Quinzon, 643 F.3d 1266, 1272-73 (9th Cir. 2011) (so

                                         -3-
          Case: 18-10178, 09/03/2019, ID: 11418142, DktEntry: 42-1, Page 4 of 5
          Case 1:08-cr-00271-DAD Document 181 Filed 09/03/19 Page 4 of 5


construing Sales). Recognizing the possibility that Special Condition No. 9’s

monitoring condition is at odds with Sales and Quinzon, the government requests

that this court construe the condition on appeal so it is consistent with those cases.

We conclude the better course is to remand the matter to the district court to

undertake that process with the input of the parties and probation officer.

      3. Special Condition No. 7. Brohn has not demonstrated the district court

plainly erred in requiring that he obtain permission before possessing or using any

computer-like device that has actual access2 to the Internet. See United States v.

LaCoste, 821 F.3d 1187, 1192 (9th Cir. 2016) (noting that district courts may

impose such a condition when the defendant has a history of using the Internet to

commit other crimes). The record indicates a computer abandoned by Brohn in

Arizona contained “images of minors . . . engaged in sexually explicit conduct.”

Thus, Special Condition No. 7 fits within the rule set out in LaCoste.

      4. Special Condition No. 10. Special Condition No. 10, which facially

prohibits Brohn from possessing “writings describing child pornography” relevant

to future court proceedings and mandatory sex-offender treatment, is plainly



      2
       Special Condition No. 7 provides that Brohn “shall not possess or use a
computer or any device that has access to any ‘on-line computer service.’” This
condition, especially when read in conjunction with Special Condition No. 9 can
only be reasonably read as limiting the use of computer-like devices that are
actually “attached” to the Internet.

                                          -4-
        Case: 18-10178, 09/03/2019, ID: 11418142, DktEntry: 42-1, Page 5 of 5
        Case 1:08-cr-00271-DAD Document 181 Filed 09/03/19 Page 5 of 5


inconsistent with the limitations set out in United States v. Cope, 527 F.3d 944,

957-58 (9th Cir. 2008). As Cope makes clear, the better course when faced with a

facially overbroad condition like Special Condition No. 10 is to remand to the

district court to amend the condition to clarify, with the input of the parties and

probation officer, that Brohn (1) may keep journals or participate in the writing of

a “sexual autobiography,” if required by his sex offender treatment; and (2) may

possess materials necessary to litigate matters relevant to the validity of his

conviction and continuing propriety of his conditions of supervised release.

      5. Special Condition No. 13. Citing to United States v. Esparza, 552 F.3d

1088, 1090-91 (9th Cir. 2009), Brohn asserts the district court erred in failing to

specifically note the sex-offender treatment mandated by Special Condition No. 13

does not include penile plethysmograph testing. Because plethysmograph testing

implicates an especially significant liberty interest, United States v. Weber, 451

F.3d 552, 563 (9th Cir. 2006), Esparza makes clear it is not authorized by Special

Condition No. 13. 552 F.3d at 1090-91. Esparza does not, however, require

district courts to create an endless list of those aspects of sex-offender treatment

that are not authorized by conditions like Special Condition No. 13. Thus, we need

not remand this condition to the district court for further clarification.

      AFFIRMED IN PART; VACATED IN PART and REMANDED.




                                          -5-
